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                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

    IN RE:                                            §
                                                      §
    S & S HEAVY HAUL, LLC,                            §            Case No. 18-33318
                                                      §
    Debtor.                                           §   HEARING SET:
                                                      §   JULY 24, 2018 at 10:00 a.m. 1

          MOTION OF GREAT WEST CASUALTY COMPANY AND HUB
          INTERNATIONAL TRANSPORTATION INSURANCES SERVICES, INC.
          FOR RELIEF FROM § 362 AUTOMATIC STAY TO TERMINATE
          CERTAIN INSURANCE POLICIES

THIS IS A MOTION FOR RELIEF FROM THE AUTOMATIC STAY. IF IT IS
GRANTED, THE MOVANT MAY ACT OUTSIDE OF THE BANKRUPTCY PROCESS.
IF YOU DO NOT WANT THE STAY LIFTED, IMMEDIATELY CONTACT THE
MOVING PARTY TO SETTLE. IF YOU CANNOT SETTLE, YOU MUST FILE A
RESPONSE AND SEND A COPY TO THE MOVING PARTY AT LEAST 7 DAYS
BEFORE THE HEARING. IF YOU CANNOT SETTLE, YOU MUST ATTEND THE
HEARING. EVIDENCE MAY BE OFFERED AT THE HEARING AND THE COURT
MAY RULE.

REPRESENTED PARTIES SHOULD ACT THROUGH THEIR ATTORNEY.

THERE WILL BE A HEARING ON THIS MATTER ON TUESDAY, JULY 24, 2018 AT
10:00 A.M. IN COURTROOM 600, 515 RUSK STREET, 6TH FLOOR, HOUSTON,
TEXAS. 2

TO THE HONORABLE JEFF BOHM, U.S. BANKRUPTCY JUDGE:

          Great West Casualty Company (“GWCC”) and HUB International Transportation

Insurances Services, Inc. (“HUB,” and together with GWCC, the “Movants”), creditors and/or

parties in interest, file this Motion of Great West Casualty Company and HUB International

Transportation Insurances Services, Inc. for Relief from §362 Automatic Stay to Terminate


1
 Please see Paragraph Nos. 1-2 below of this Motion to Lift Stay regarding potential expedited and/or emergency
consideration.

MOTION OF GREAT WES T CAS UALTY COMPANY AND                 HUB INTERNATIONAL
TRANSPORTATION INS URANCES S ERVICES , INC. FOR RELIEF FROM § 362 AUTOMATIC STAY
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Certain Insurance Policies (the “Motion to Lift Stay”) and in support thereof would show the

Court the following.

                             PRELIMINARY STATEMENT REGARDING
                             EMERGENCY AND/OR EXPEDITED RELIEF

           1.       GWCC and Hub anticipate seeking emergency and/or expedited consideration

of the relief sought in this Motion to Lift Stay.

           2.       GWCC and Hub communicated with the Chapter 7 Trustee and his newly retained

counsel on July 6, 2018 regarding potential hearing dates and expect such discussions to

continue on July 9, 2018 at which point a motion seeking emergency and/or expedited

consideration likely is to be filed.

                      JURISDICTION, VENUE, FINAL ORDER AUTHORITY

           3.       The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§157 and 1334

and 11 U.S.C. §362.

           4.       Venue is proper in this court.

           5.       This Court may enter a final order as to this core proceeding and contested matter.

                                        FACTUAL BACKGROUND

           6.       On June 18, 2018 (the “Petition Date”), S & S Heavy Haul, LLC (“S&S” or the

“Debtor”) filed a voluntary petition under Chapter 7 of the United States Bankruptcy Code, 11

U.S.C. §101 et seq. (the “Code”).

           7.       Randy Williams is the Chapter 7 Trustee (the “Trustee”) appointed in this case

pending the Code § 341 meeting of creditors. (As of the filing of this Motion to Lift Stay, no

date and time appears to be set for the Code § 341 meeting of creditors.)



2
    Please see Footnote No. 1, supra.

MOTION OF GREAT WES T CAS UALTY COMPANY AND                 HUB INTERNATIONAL
TRANSPORTATION INS URANCES S ERVICES , INC. FOR RELIEF FROM § 362 AUTOMATIC STAY
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          8.       S&S was an operator of trucks, heavy machinery, and/or other rolling stock at

multiple locations across the United States, including Texas, North Dakota, Utah, and

Oklahoma. 3

          9.       On information and/or belief, the equipment of S&S at this time remains in

various locations, known and unknown, inside and even outside of the facilities of S&S,

including approximately 45 semis and 36 tractors.

          10.      On information and/or belief, trucks and trailers were left scattered across the

United States at unknown locations mid-trip when S&S ceased operations.

          11.      For a number of years prior to the Petition Date, S&S had contracted with the

Movants on an annual basis to provide various insurance coverages to the Debtors, including

commercial auto coverage-auto carrier, commercial inland marine coverage-cargo coverage, and

commercial general liability coverage.           Under these arrangements, GWCC provided the

insurance policies to S&S as the insurer, and HUB acted as an intermediary between GWCC and

S&S.

          12.      Under the typical policy including the policies at issue in this Motion to Lift Stay,

HUB billed S&S for the premiums due under the policies, and S&S would remit and was

obligated to make premium payments to HUB.

          13.      On or about June 1, 2018 and effective as set forth in the policy documents (the

“2018 Policy Date”), S&S entered into a new set of insurance policies with Movants as indicated

by the declaration page(s) attached hereto as Exhibit 1 and incorporated by reference herein.

Like the policies provided in the previous years, the 2018 Policies included coverage, inter alia,



3
    See http://www.ssheavyhaul.com/about-us/

MOTION OF GREAT WES T CAS UALTY COMPANY AND                 HUB INTERNATIONAL
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for commercial auto coverage-auto carrier, commercial inland marine coverage-cargo coverage,

and commercial general liability coverage. (See Exhibit 1.)

           14.     S&S (and subsequently the estate) has defaulted in the payment of the premiums

to HUB for the 2018 Policies.

           15.     According to the records of GWCC and HUB, S&S made no payments for the

2018 Policies.

           16.     To date, the Trustee has not agreed to the termination of the 2018 Polices. 4

                                            RELIEF REQUESTED

           17.     GWCC respectfully requests that the Court lift, annul, and terminate the

automatic stay of Code § 362(a) so that GWCC and HUB immediately may take any and all

actions permitted under the 2018 Polices and/or applicable law to cancel and terminate the 2018

Policies effective upon the 2018 Policy Date or as otherwise may be permitted under applicable

law.

           18.     GWCC and HUB respectfully request that the Court terminate the 14-day of

Bankruptcy Rule 4001(a)(3) and provide that relief from the Code § 362(a) stay is immediately

effective.

           19.     A proposed order is submitted with this Motion to Lift Stay and is incorporated by

reference herein.

                                              BASIS OF RELIEF

           20.     Pursuant to Code § 362(d)(1), cause exists to immediately terminate the Code

§ 362(a) automatic stay.




4
    Upon instructions of the Trustee, GW CC has terminated a separate workers compensatio n policy regarding S&S.

MOTION OF GREAT WES T CAS UALTY COMPANY AND                 HUB INTERNATIONAL
TRANSPORTATION INS URANCES S ERVICES , INC. FOR RELIEF FROM § 362 AUTOMATIC STAY
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          21.    First, for example, S&S defaulted in the payment of the premiums necessary to

continue the 2018 Policies. No payments were made by S&S for the 2018 Policies.

          22.    Under Chapter 551 of the Texas Insurance Code, GWCC a nd/or HUB are entitled

to cancel the 2018 Polices on account of the nonpayment of premiums.

          23.    The effective date of the cancellation should be determined to be effective as of

the 2018 Policy Date or as otherwise provided under applicable law because of the lack of any

premiums paid by S&S toward the 2018 Policies.

          24.    Second, for example, the cessation of the business of S&S upon the

commencement of this Chapter 7 case, including the uncertain condition and locations of the

equipment of S&S, provides an entirely different set of risks than when GWCC originally

underwrote the 2018 Policies.          The instant circumstances go far beyond any conditions

contemplated with respect to the 2018 Policies.

          25.    Pursuant to Code § 362(d)(2), cause also exists to immediately terminate the Code

§ 362(a) automatic stay. No reorganization is possible or anticipated from the instant Chapter 7

case and/or this estate.

          26.    Additional grounds for relief may be provided by amended and/or supplemental

motion and/or briefing prior to the hearing, or otherwise at the hearing, regarding this Motion to

Lift Stay.

                                  RESERVATION OF RIGHTS

          27.    Movants reserve the right to amend and/or supplement this pleading prior to any

hearing on this Motion to Lift Stay.




MOTION OF GREAT WES T CAS UALTY COMPANY AND                 HUB INTERNATIONAL
TRANSPORTATION INS URANCES S ERVICES , INC. FOR RELIEF FROM § 362 AUTOMATIC STAY
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                                          NOTICE OF MOTION

          28.      Notice of the Motion has been provided in accordance with Fed. R. Bankr. P.

4001(a)(1) and LBR 4001-1(a)(d). No third parties are known to hold an interest in the Listed

Insurance Policies and/or Applicable Policies. 5

                 PRELIMINARY DESIGNATION OF WITNESSES AND EXHIBITS

          29.      GWCC designates following items as potential exhibits for any hearing regarding

the Motion to Lift Stay.

                   (a)    The exhibits attached to this Motion.

                   (b)    Any item on file on the docket of this instant Chapter 7 case and/or
                          any related adversary proceeding.

          30.      GWCC designates the following persons as potential witnesses at any hearing

regarding the Motion to Lift Stay.

                  (a)     One or more representatives of GWCC.

                  (b)     One or more representatives of HUB.

                  (c)     Randy Williams.

                  (d)     One or more representatives of S&S, including Benjamin
                          Freeman.

                  (e)     Eric English.

                                   CONCLUSION AND PRAYER

          WHEREFORE, Great West Casualty Company and HUB International Transportation

Insurances Services, Inc., each a creditor and/or party in interest, respectfully request that the

Court lift, annul, and terminate the automatic stay of 11 U.S.C. §362(a) so that GWCC and HUB

immediately may take any and all actions permitted under the 2018 Polices and/or applicable law

to cancel and terminate the 2018 Policies effective upon the 2018 Policy Date or as otherwise



MOTION OF GREAT WES T CAS UALTY COMPANY AND                 HUB INTERNATIONAL
TRANSPORTATION INS URANCES S ERVICES , INC. FOR RELIEF FROM § 362 AUTOMATIC STAY
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may be permitted under applicable law. Movants respectfully requests such other and further

relief to which Movants are entitled at law or in equity.


Dated: July 7, 2018                             Respectfully submitted:

                                                 WEYCER, KAPLAN, PULASKI & ZUBER, P.C.

                                                 By:       /s/ Jeff Carruth
                                                       JEFF CARRUTH
                                                       State Bar No. 24001846
                                                       3030 Matlock Rd., Suite 201
                                                       Arlington, Texas 76015
                                                       Phone: (713) 341-1158
                                                       Facsimile: (866) 666-5322
                                                       jcarruth@wkpz.com

                                                 ATTORNEYS FOR
                                                 GREAT WEST CASUALTY COMPANY AND
                                                 HUB INTERNATIONAL TRANSPORTATION
                                                 INSURANCES SERVICES, INC.

                                    CERTIFICATE OF CONFERENCE

       The undersigned communicated with Randy Williams on July 6, 2018. As of the filing of
this motion, the motion is opposed. Mr. Williams has just retained counsel, and further
communications are anticipated on July 9, 2018 and if necessary thereafter.

                                                               /s/ Jeff Carruth
                                                               Jeff Carruth

                                       CERTIFICATE OF SERVICE

        A true and correct copy of the foregoing item on July 5, 2017 was served (i) by ECF
notice to all registered users who have appeared in this case to date and which are listed below
and (ii) by regular mail to the following persons in the address list shown below. The exhibits
and service lists were omitted from the service of the motion by regular mail; which items may
be obtained by contacting the undersigned.

                                                               /s/ Jeff Carruth
                                                               Jeff Carruth


5
    Schedule D (Docket No. 21) reports no secured creditors.

MOTION OF GREAT WES T CAS UALTY COMPANY AND                 HUB INTERNATIONAL
TRANSPORTATION INS URANCES S ERVICES , INC. FOR RELIEF FROM § 362 AUTOMATIC STAY
TO TERMINATE CERTAIN INS URANCE POLICIES — PAGE 7 OF 7
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                                MAIL SERVICE LIST

Debtor                                  S & S Heavy Haul, LLC
                                        1400 Trail Road
                                        El Reno, OK 73036

Debtor’s Counsel                        Eric Michael English
                                        Porter Hedges LLP
                                        1000 Main Street
                                        36th Floor
                                        Houston, TX 77002

Chapter 7 Trustee                       Randy W Williams
                                        Thompson & Knight LLP
                                        811 Main St.
                                        Suite 2500
                                        Houston, TX 77002

                                        Additional service by direct email to:
                                        Randy.Williams@tklaw.com

Anticipated Counsel for                 Elizabeth Freeman
Chapter 7 Trustee                       1401 McKinney St., Suite 1900
                                        Houston, Texas 77010

                                        Additional service by direct email to:
                                        efreeman@jw.com

US Trustee                              US Trustee
                                        Office of the US Trustee
                                        515 Rusk Ave, Ste 3516
                                        Houston, TX 77002

Notice of Appearance Party              Leslie M. Luttrell
                                        Luttrell + Carmody Law Group
                                        100 NE Loop 410 Ste. 615
                                        San Antonio, TX 78216

Notice of Appearance Party              Weldon Leslie Moore, III
                                        Sussman & Moore, LLP
                                        4645 N. Central Expwy Ste 300
                                        Dallas, TX 75205




MAIL S ERVICE LIS T
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                                          ECF SERVICE LIST

                                       18-33318 S & S Heavy Hau l, LLC
                          Case type: bk Chapter: 7 Asset: No Vol: v J udge: Jeff Bohm
                             Date filed: 06/ 18/ 2018 Date of last filing: 07/05/2018

                                                  Attorneys



Eric Michael English
Porter Hedges LLP
1000 Main Street
                                              S & S Heavy Haul, LLC
36th Floor
                                              1400 Trail Road
Houston, TX 77002                representing
                                              El Reno, OK 73036
713-226-6612
                                              (Debtor)
713-226-6212 (fax)
eenglish@porterhedges.com
 Assigned: 06/18/2018

Leslie M. Luttrell                            Key Equi pment Fi nance, a di vision of KeyBank National
Luttrell + Carmody Law                        Association
Group                                         c/o Leslie M. Luttrell
100 NE Loop 410                               Luttrell + Carmody Law Group
Ste. 615                                      100 NE Loop 410
San Antonio, TX 78216                         Ste. 615
                                 representing
210-426-3600                                  San Antonio, TX 78216
210-426-3610 (fax)                            United States
luttrell@lclawgroup.net                       2104263600
 Assigned: 07/05/2018                         2104263610 (fax)
                                              luttrell@lclawgroup.net
                                              (Creditor)

Weldon Leslie Moore, III
Sussman & Moore, LLP                          Lone Star Crude, LLC
4645 N. Central Exp ressway                   c/o Weldon Moore, III
Ste 300                                       Sussman & Moore, LLP
Dallas, TX 75205                 representing 4645 N. Central Exp ressway, Ste. 300
214-378-8270                                  Dallas, TX 75205
214-378-8290 (fax)                            wmoore@csmlaw.net
wmoore@csmlaw.net                             (Creditor)
 Assigned: 06/26/2018




ECF S ERVICE LIS T
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                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

 IN RE:                                         §
 S & S HEAVY HAUL, LLC ,                        §
 Debtor.                                        §          Case No. 18-33318
                                                §

       ORDER GRANTING MOTION OF GREAT WEST CASUALTY
       COMPANY AND HUB INTERNATIONAL TRANSPORTATION
       INSURANCES SERVICES, INC.    FOR RELIEF FROM § 362
       AUTOMATIC STAY TO TERMINATE CERTAIN INSURANCE
       POLICIES (RE: DOCKET NO. __)

        On this date the Court considered the Motion of Great West Casualty Company and
 HUB International Transportation Insurances Services, Inc. for Relief from §362 Automatic
 Stay to Terminate Certain Insurance Policies (Docket No. __) (the “Motion to Lift Stay”)
 which was filed herein by Great West Casualty Company (“GWCC”) and HUB International
 Transportation Insurances Services, Inc. (“HUB”) on July 7, 2018. The Motion to Lift Stay
 contained the necessary notices and, according to the certificate of service therein, was served
 upon all parties entitled to notice. Based upon the record before the Court, the Court finds and
 concludes that cause exists under 11 U.S.C. §362(d)(1) and (2) to immediately terminate the
 automatic stay as set forth herein.

        IT IS THEREFORE ORDERED THAT:

       1.     The Motion to Lift Stay is granted as set forth herein.

        2.     Capitalized terms not defined herein shall have the same meaning as ascribed to
such terms in the Motion.

        3.     The automatic stay of 11 U.S.C. §362(a) is hereby lifted, annulled, and terminated
so that GWCC and HUB immediately may take any and all actions permitted under the 2018
Polices and/or applicable law to cancel and terminate the 2018 Policies effective upon the 2018
Policy Date or as otherwise may be permitted under applicable law.

         4.      The 14-day of Bankruptcy Rule 4001(a)(3) is terminated, and the relief provided
in this order is immediately effective.


DATED:


                                             THE HONORABLE JEFF BOHM
                                             UNITED STATES BANKRUPTCY JUDGE


ORDER GRANTING MOTION OF FIRS T COLONY CHURCH OF CHRIS T FOR RELIEF FROM §362
AUTOMATIC STAY REGARDING CONS TRUCTION GUARANTY CLAIMS AND INS URANCE
POLICIES (RE: DOCKET NO. 48) — Page 1 of 1 1463695.DOC[4]
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                                                                                                EXHIBIT 1
 POLICY NUMBER: MCP10641E


       THIS ENDORSEMENT CHANGES tHE POLICY. PLEASE READ IT CAREFULLY.

                      PREMIUM DETERMI'-ATION -REPORTING BASIS

This endorsement modifies insurance provided under the following:
     COMMERCIAL AUTO COVERAGE PART
     COMMERCIAL GENERAL LIABILITY COVERAGE FORM
     COMMERCIAL INLAND MARINE COVERAGE PART
The provisions of the Coverage Form apply unless modified by this endorsement.
This endorsement changes the policy effective on the inception date of the policy unless another date is
indicated below.
 Named Insured                                                      Endorsement Effective
 S & S HEAVY HAUL LLC                                               JUNE     1 2018
                                                                    Endorsement Number
 GREAT WEST CASUALTY            COMPANY          I ..

                                           HUB INTERNATIONAL TRANS INS SERVS INC
The premiums we are charging you for coverages shown below are calculated monthly as follows:
        Premium Basis                              Rating Basis                                  Rate
                           Confidential / protected pricing information redacted




Special Provisions, if any:




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                                                                                                   Pago 1 of 2
                                                                             EXHIBIT 1
                     Confidential / protected pricing information redacted
GU49 20 12 17
                                                                                Page 2 of 2
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                                                                                                            EXHIBIT 1
                      GREAT WEST CASUALTY COMPANY
                                                        A Stock Company
                                   1100 West 29th Street, South Sioux City, NE 68776
                                         COMIVIERCIAL LINES POLICY
                                   COMMON POLICY DECLARATIONS
 POLICY NUMBER: MCP10641E                                                         Renewal of Number: MCP10641D
 Named Insured and Address:
        S & S HEAVY HAUL LLC
        1601    MIDWAY      DR
        AMMON ID 83406
Policy Period: From   JUNE       1 2018                  to JUNE        1   2019                at 12:01 A.M. Standard Time
at your address shown above.
Business Description: TRUCKER - LLC
IN RETURN FOR THE PAYMENT OF THE PREMiUM, AND SUBJECT TO ALL THE TERMS OF THiS POLiCY WE
AGREE WITH YOU TO PROVIDE THE INSURANCE AS STATED IN THiS POLiCY.
 THiS POLiCY CONSISTS OF THE FOLLOWING COVERAGE PARTS FOR WHICH A PREMIUM IS INDICATED
 THIS PREMIUM MAY BE SUBJECT TO ADJUSTMENT.                                    PREMIUM
 COMMERCIAL AUTO COVERAGE - MOTOR CARRIER                                                                  Confidential /
 COMMERCIAL INLAND MARINE COVERAGE - CARGO COVERAGE                                                          protected
 COMMERCIAL GENERAL LIABILITY COVERAGE
                                                                                                              pricing
                                                                                                           information
                                                                                                             redacted
                         Confidential / protected pricing information redacted
 Forms and endorsements made a part of this policy at lime of issue:*
 DE00011213 DE00050400 DE00101213 DE00300115 DE00310115 DE00400914
 GU49050716 GU49100187 GU49201217 GU49521010 GU50160914 PC00111211
'Forms and Endorsements omitted if shown in specific Coverage Part Declarations.
 Agent:'JULIE ARMES
        HUB INTERNATIONAL TRANS INS SERVS INC 1295
          PO BOX 50340
         IDAHO FALLS            ID     83405
DEOO 01 12 13      Includes copyrighted material of Insurance Services Office, inc., with its permission         Page 1 of 2
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                                                                                                          EXHIBIT 1

In various places on our policy, we may use abbreviations. This is what they mean:
TERM                MEANS
ACV              Actual Cash Value
Bi               Bodily Injury
Coil             Collision
Comp             Comprehensive
Cov              Coverage
DBA              Doing Business As
Ded              Deductible
inci             Included
Ins              insurance
Liab             Liability
Med Pay          Medical Payments
PD               Property Damage
Phys Damage      Physical Damage
PIP              Personal injury Protection
PR/Co            Products/Completed Operations
Spec Perils      Spedfied Perils
UIM              Underinsured Motorists
UM               Uninsured Motorists




**SEE DE 00 10 12 13 MOTOR CARRIER COVERAGE FORM DECLARATIONS,
      DE 00 30 01 15 COMMERCIAL GENERAL LIABILITY DECLARATIONS,
          DE 00 40 09 14 CARGO COVERAGE FORM DECLARATIONS,
          GU 49 20 12 17 PREMIUM DE-(-RMINATION - REPORTING BASIS,
          AND THE ADDITIONAL ENDORSEMENTS ATTACHED TO THIS POLICY FOR HOW
          PREMIUMS WILL BE DETERMINED.




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                                                                                           EXHIBIT 1

                                    COMMERCIAL LINES POLICY
                                SUPPLEMENTAL DECLARATIONS


 POLICY NUMBER; MCP10641E                                             GREAT WEST CASUALTY COMPANY
                                                                P. O. Box 277, South Sioux City, NE 68776


  EXTENDED SCHEDULE OF COVERAGES

  This policy provides the following additional coverage{s). Please read the endorsement(s) for a complete
  description of coverage.

                                                                                            PREfVllUM
  CA49800411 COMML AUTO EXTENSION ENDR - COVERAGE FOR CERTAIN CONTRACTS                      Confidential /
 CAS1080516 CAP ON DEDUCTIBLE - PHYSICAL DAMAGE LOCATION COVERAGE                          protected pricing
 CA52221015 ABA - BLANKET ADDL INSR AND WAIVER OF TRANSFER OF RIGHTS                          information
                                                                                               redacted
 CG49600817 EMPLOYEE BENEFITS LIABILITY COVERAGE
 CC49700710 EMPLOYERS LIABILITY INSURANCE - STOP GAP SUPPLEMENT
 CG49861015 ABG - BLANKET ADDL INSD AND WAIVER OF TRANSFER OF RIGHTS




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